Case 2:12-cv-00410 Document 31-71 Filed on 01/26/15 in TXSD Page 1 of 15

MCTFS BASIC TRAINING RECORD

SSN: 0454713620

RUC: 54980 COMPANY CODE: PRES-GRADE: E2 RECSTAT: E COMP CODE: 11
PLT CODE: TRNGRP: R-RECSTAT: RCOMP- CODE:

Ter tt rer nn ee ene eee ee eee ee **UNIT TRAINING** ~-------------------------------
PFT DATE: 20030221 PRIOR PFT DATE; 00000000 BST/EST DATE: 200302
PFT SA: 1 PRIOR PFT SA: PERFORMED: 050
PFT SCORE: 253 PRIOR PFT SCORE: ATTEMPTED: 050
PFT CLASS: 1 PRIOR PFT CLASS: SCORE: 50

ANNIVERSARY DATE: 00000000

WEIGHT CONTROL STATUS: LEADERSHIP TRAINING: 1 BASIC

WEIGHT CONTROL DATE: 00000000 LEADERSHIP TRAINING DT: 200302

MIL APPEARANCE STATUS: SECURITY LECTURE DATE: 200304

MIL APPEARANCE DATE: 00000000 WATER SURVIVAL CODE: 2 2ND CLASS

WT CNTL QY: 00 MILAP OY: 00 WATER SURV REQUAL DATE: 200601

GAS MASK SIZE: C MEDIUM

RIV-III LECTURE DATE: 200302 GAS MASK TYE; N XM40

DRIVER IMPROVEMENT: 1 PASSED GAS CHAMBER DATE: 200302

DRUG LECTURE DATE: 000000 HELMET SIZE: C MEDIUM

CURRENT RIFLE QUAL DATE: 20030210 CURRENT PISTOL QUAL DATE: 000000

CURRENT RIFLE SCORE CD: 221 CURRENT PISTOL SCORE CD:

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EXCEPTION DATE: 000000 EXCEPTION DATE: 000000

EXPERT RIFLE QUALIFICATIONS: O1 EXPERT PISTOL QUALIFICATIONS: 00

NAME: RAMIREZ JR, JOHN H

12/02/2003

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CAUSE NO. OY-2bR(o- S

THE SYATE OF TEXAS

dotn Ramave2.

ORDER DEFERRING ADJUDICATION OF GUILTY AND
PLACING DEFENDANT ON COMMUNITY SUPERVISION

IN THE COUNTY COURT

AT LAW NO. 5

OF NUECES COUNTY, TEXAS

AMMMmA

Defendant, having been charged in the above entitled and

numbered cays ' for the isdemeanor offense of
LAM laut CQNVOUMAY OW OA

1 (ap allegeh to have been

committed on or about AIT A "2 >, AOY . This

cause being this day called for trial, the State appeared by her

County Attorney and the Defendant appeared in person "with" or
“having waived" counsel, and both parties announced ready for
trial. The said Defendant elected to proceed under Article 42.12
Sec. 5(d) of the Code of Criminal Procedure and in open court, no
jury having been provided, the Defendant having wai ignment
and formal reading of the information, plesdedC “aus lty” Snolo
contendere" ,to the offense as described above. =

The trial proceeded before the Court, and the Court having
heard the testimony and having found that the evidence
substantiates the Defendant's guilt, and the Court being of the
opinion that the best interests of society and of the Defendant
would be served by deferring further proceedings without an
adjudication of guilty being entered and there upon places the
Defendant on community supervision in this cause.

IT IS THEREFORE ORDERED by the Court, with the authority
conferred by Article 42.12 Section 5(d) of the Texas Code of
Criminal Procedure, that the Defendant in this cause is hereby
placed on community supervision, without a judgment of guilty
entered,,. 4 those conditions as set out below for a period of

n

ths, said community supervisionary period beginning
with the date entered in this order. ;

IT IS THE ORDER OF THE COURT THAT YOU COMPLY WITH THE
FOLLOWING CONDITIONS OF COMMUNITY SUPERVISION:

wt. Not commit an offense against the laws of this state or of any
other state or of the United States.

2. Report to the Community Supervision Officer as directed by the
‘Court or Community Supervision Officer, at least once each

month, and obey all rules and regulations of the Community
Supervision Department.

STATE’S
EXHIBIT

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3 Remain in Nueces County, Texas, unless permitted to depart by
the Court through the Community Supervision Department.

4. Report any change of residence, job or job status to the
Community Supervision Officer within seventy-two (72) hours.

5. Permit the Community Supervision Officer to visit you at home,
at your work, Or elsewhere.

6. Work faithfully at employment suitable to the Court and
Community Supervision Department.

7- Avoid persons or places of disreputable or harmful character.

8. Avoid injurious or vicious habits, avoid the excessive use of
alcoholic beverages, and/or avoid the unlawful use of drugs,
narcotics, or any other controlled substances.

9. Shall complete | 60 hours of community service under the
direction of the Community Supervision Correction Department
or Sheriff's Department. All programs including community
service hours, must begin within (10) days of thiz 2 dex and
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THE FINE, COURT COSTS, AND REIMBURSEMENT for Appointed Attorney

shall be paid to the Clerk of the County Courts at Law, Nueces
County, Texas.

Case 2:12-cv-00410 Document 31-71 Filed on 01/26/15 in TXSD Page 5 of 15

COMMUNITY SUPERVISION FEES shall be paid to the Nueces County
Community Supervision & Corrections Department each and every month
upon reporting to the Community Supervision Officer.

RESTITUTION shall be paid through the Nueces County community
Supervision Department as set out ahove to:

SIGNED ORDERED AND ENTERED THIS DATE

fort 10,2 Mt

DATE

I HAVE RECEIVED A COPY OF THIS ORDER AND THE
CONDITIONS OF COMMUNITY SUPERVISION.

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DEPENDANT

Dyp_ Se _.

DEFENSE COUNSEL (IF ANY)

Clerk of the Court furnished Community Supervisor with a copy of

this order.

by

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a:forms/04-07-98 Revised LGJ/og

Case 2:12-cv-00410 Document 31-71 Filed on 01/26/15 in TXSD Page 6 of 15

STATE OF TEXAS

COUNTY OF NUECES

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Thereby certified on | |

PATSY PEREZ
NUECES COUNTY DISTRICT CLERK
CLERK OF THE DISTRICT AND COUNTY COURTS AT LAW

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Case 2:12-cv-00410 Document 31-71 Filed on 01/26/15 in TXSD Page 7 of 15

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SASSI-3 Substance Abuse Subtle Screening Inventory
For free consultation on this profile 1-888 BY SASSI * 1-888-297-2774 * M-Th 8-6 » Fri8—5 EST

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Check If RAP is 2 or more.
——— Results may not be meaningful.
Try to resolve problem before proceeding.

Check every rule, yes or no.

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Any rule answered “yes”?

Low PROBABILITY
All rules answered “no”?

STATE’S DEFENDANT’S

of having a Substance Dependence Disorder

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issing substance dependent individuals. Elevated DEF may also reflect situational fac rad g

EXHIBIT EXHIBIT
233 Ss

Copyright © 1988, 1994, 1997 Glenn A. Miller

B-P301 P-B 7/99
Case 2:12-cv-00410 Document 31-71 Filed on 01/26/15 in TXSD Page 8 of 15

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ADULT “LACEMENT INDICA} JR (API
ANSWER SHEET

Form A |_|

Form B |_|

REMINDER: Mark only on the answer sheet. Keep the mark in the answer space. Make sure the row you mark has the same
number as the question. Each question has only one correct answer. If you change an answer, erase cleanly.

VOCABULARY
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SASSI-3 Substance Abuse Subtle Screening Inventory
For free consultation on this profile 1-888 BY SASSI « 1-888-297-2774 * M-Th 8-6 » Fri 8—5 EST

Client ID

Test Date

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THe Decision RULE:

Any rule answered “yes”?

All rules answered “no”?

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SASSI

Random Answering Pattern

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Check If RAP is 2 or more.

—— Results may not be meaningful.

Try to resolve problem before proceeding.

Check every rule, yes or no.

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FVOD 16 or more? 4
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yes] | no

-HIGH PROBABILITY

of having a Substance Dependence Disorder

Low PROBABILITY

DEFENDANT’S
EXHIBIT

Ss

of having a Substance Dependence Disorder

eck if DEF is 8 or more. Elevated DEF scores increase the possibility of the SASSI
issing substance dependent individuals. Elevated DEF may also reflect situational tactbrS §

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B-P301 P-B 7/99
Case 2:12-cv-00410° Document 31-71 Filed on 01/26/15 in TXSD Page 12 of 15

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REMINDER: Mark only on the answer sheet Keep the mark in the answer space. Make sure the row you mark has the same o>
number as the question. Each question has only one correct answer. If you change an answer, erase cleanly.
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THE STATE OF TEXAS )

COUNTY OF NUECES )

I, Mary Lopez Buitron, Official Court Reporter in and
for the 94th District Court of Nueces County, Texas, do hereby

certify that the following exhibits constitute true and

a nD Oo FP W DN FH

Complete duplicates of the original exhibits, excluding

8| physical evidence, offered into evidence during the Proceeding
9] in the above-entitled and numbered cause as set out herein

10] before the Honorable Bobby Galvan, Judge Presiding for the 94th

11] District Court of Nueces County, Texas, and a Jury trial,

12| beginning December 1, 2008.

13 I further certify that the total cost for the

14] preparation of this Reporter's Record is and was paid

15| for by the

17] WITNESS MY OFFICIAL HAND on this,

18| the 4th day of October 2009.

21] MARY LOPEZ BUITRON, CSR, RPR, Texas CSR #2731
Expiration Date: 12/31/2009

22| Official Court Reporter,

94th District Court

23] Nueces County, Texas

901 Leopard, Room 901

24) Corpus Christi, Texas 78401

(361) 888-0658

